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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                  Plaintiff,                                 4:11CR3087
      vs.
                                                  MEMORANDUM AND ORDER
GUY E. ALLEN, CHRISTOPHER
MALLETT,
                  Defendants.


      Defendant Allen has moved to dismiss this case. Trial was previously set to
commence on November 5, 2012. (Filing No. 152). Accordingly,

      IT IS ORDERED:

      1)    As to both defendants, the trial of this case is continued pending
            resolution of defendant Allen’s motion to dismiss.

      2)    The Court further finds that the ends of justice will be served by continuing
            the trial; and that the purposes served by continuing the trial date in this
            case outweigh the interest of the defendant and the public in a speedy trial.
            Accordingly, as to both defendants, the time beginning on October 25,
            2012, when defendant Allen filed his motion to dismiss, until the resolution
            of that motion, shall be deemed excludable time in any computation of time
            under the requirements of the Speedy Trial Act. 18 U.S.C. § 3161(h)(1),
            (h)(6) & (h)(7).

            November 2, 2012.

                                               BY THE COURT:
                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
